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       5.       PayPal Holdings, Inc. (“PayPal”) was an online payments system that allowed

online money transfers and served as an alternative to more traditional payment methods such as

cash, checks, wire transfers, and credit card payments for services, goods and merchandise.

       6.       BENDER sold free or discounted furniture that he had purchased and restored

using the name Hidden Gem Furniture.

       7.       BENDER controlled and operated an online account through eBay called

HiddenGemFurniture (“HGF”) that had been created by Person A.

       8.       BENDER created and controlled online accounts through eBay called

“EddiesAffordableGear” (“EAG”) and “AffordableGoodies4You” (“AG”). EAG and AG

offered sports related merchandise for sale, including jerseys and shirts.

       9.       BENDER used, operated and controlled a PayPal account ending in 4211

(“PayPal 4211”) that was linked to HGF, EAG, and AG.

                           THE CONSPIRACY AND ITS OBJECTS

       10.      Beginning at least in or about April 2014 and continuing until in or about August

2019, in the District of Maryland and elsewhere,

                                 JAMES EDWARD BENDER,

the defendant herein, did combine, conspire, confederate and agree with SC1, SC2, and with

persons known and unknown, to commit offenses against the United States, namely to:

                a.     knowingly and willfully devise and intend to devise a scheme and artifice

to defraud businesses and individuals, including eBay, Amazon, PayPal, eBay customers, and the

manufacturers and distributors of goods and merchandise, and obtain money by means of



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